  Case 1:21-cr-00399-RDM Document 295 Filed 05/27/24 Page 1 of 1

                                                                          Tor Ekeland
                                                                          Tor@torekeland.com




                                       May 127, 2024

Via ECF and Electronic Mail at:

Hon. Randolph D. Moss
U.S. District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington D.C. 20001

Re: Juror Discussions - US v. Sterlingov (21-cr-399-RDM)
Dear Judge Moss:
        We are respectfully requesting confirmation from Your Honor regarding our ability
to engage in discussions with jurors who served during the trial. Pursuant to LCrR 24.2(b)
the parties are permitted to communicate with jurors, upon request, following an
instruction from the court “inform[ing] the jury that no juror is required to speak to anyone
but that a juror may do so if the juror wishes.” We note that during the conclusion of this
case, this Court provided a similar instruction to the jury, stating, “You are free to discuss
the case or not discuss the case with anyone as you see fit.” Mar. 12, 2024, Tr. 46:19-20.

       Given this instruction, we believe that the parties are permitted to speak with jurors
should they be willing to engage in such discussions. However, we seek clarification and
confirmation from this Court to ensure that we are in full compliance with the rules
governing post-verdict interactions with jurors.

Thank you for your attention to this matter.

Sincerely,

/s/ Tor Ekeland

Tor Ekeland




                         30 Wall Street, 8th Floor ▪ New York, NY 10005
                                     www.torekeland.com
